Case 1:06-cr-00285-ARR               Document 81          Filed 08/16/06   Page 1 of 12 PageID #: 249




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------X
 UNITED STATES OF AMERICA,
                                                                    MEMORANDUM & ORDER

         v.                                                         06-Cr.-285 (NGG)

 GINO GALESTRO, et. al.,

                            Defendants
 ---------------------------------------------------------X
 GARAUFIS, United States District Judge.

         On June 28, 2006, the Government moved to disqualify Richard Levitt, Esq. (“Levitt”),

 Nicholas Kaizer, Esq. (“Kaizer”), and their law firm from representing Gino Galestro

 (“Galestro”), on the basis that Levitt previously represented a cooperating witness who is

 expected to testify against Galestro in this matter. The prior client, Michael Maggio (“Maggio”)

 was represented by Levitt regarding allegations identical to those charges now facing Galestro.

 (Gov’t Ltr. Br., dated June 28, 2006, at 1.) Oral argument was heard regarding the instant motion

 on July 20, 2006, at which time Maggio, through counsel, joined the Government’s motion.

 (Transcript of Oral Argument, dated July 20, 2006 (“Tr.”), at 3.) For the reasons set forth below,

 the Government’s motion is GRANTED.

 I.      FACTUAL BACKGROUND

         On January 27, 2006, an arrest warrant was issued for Maggio, who is now a cooperating

 witness in the instant prosecution. (Aff. Supp. Arrest Warrants, dated Jan. 27, 2006.) Levitt

 arranged for Maggio’s surrender, and on February 1, 2006, Levitt filed a notice of appearance,

 and represented Maggio at his arraignment and bail hearing. (Levitt Aff., dated July 10, 2006

 (“Levitt Aff.”) ¶¶ 4-5; Kaizer Aff., dated July 10, 2006 (“Kaizer Aff.”) ¶¶ 3-5.) Assistant United

 States Attorney Joey Lipton (“AUSA Lipton”) provided Kaizer with transcripts of recorded
Case 1:06-cr-00285-ARR          Document 81        Filed 08/16/06       Page 2 of 12 PageID #: 250




 conversations in which Maggio discussed an alleged arson charged in this case, and Maggio also

 told Kaizer that he “participated in a murder and that the Government would likely find out about

 it.” (Kaizer Aff. ¶ 4.) Levitt and Kaizer read to Maggio the transcripts of the recorded

 conversations. (Levitt Aff. ¶ 4; Kaizer Aff. ¶ 4.) Levitt and Kaizer then counseled Maggio about

 whether to plead guilty, either with or without cooperating with the government, or go to trial.1

 (Levitt Aff. ¶ 4.) After Maggio decided to cooperate, new counsel was appointed. (Id. ¶ 6;

 Kaizer Aff. ¶¶ 7-9.)

        Levitt, Kaizer, and their law office now represent Galestro, a death-eligible defendant in

 the same indictment (Levitt Aff. ¶¶ 1-2), wherein the Government alleges, inter alia, that

 Galestro was a “soldier” in the Bonanno organized crime family (“OCF”), and that he conspired

 to murder and murdered Robert McKelvey, and conspired to commit and committed arson and

 robbery, in the furtherance of the Bonanno OCF. (Indictment ¶¶ 12-38.) Galestro states that

 Levitt and Kaizer are his counsel of choice. (Tr. at 20.)

        The Government has submitted a sealed affirmation to this court, indicating that Maggio

 is a central witness in this matter, and a critical witness against Galestro in connection with the

 indictment allegations, including the alleged McKelvey murder, arson, and robbery in the

 furtherance of the Bonanno OCF. (Lipton Sealed Aff. ¶¶ 4-9.) Maggio joins the Government’s

 motion in seeking Levitt and Kaizer’s disqualification, stating that he does not waive the attorney

 client privilege, and that he discussed with Kaizer the details of the charged arson and murder,



        1
           While the Government asserts that Levitt and Kaizer counseled Maggio on whether to
 cooperate with the Government, Levitt and Kaizer filed affirmations that deny any conversations
 with Maggio on this topic beyond advising him that it was an option. (Levitt Aff. ¶ 4; Kaizer
 Aff. ¶ 4.) Maggio in his affidavit does not contradict his former lawyers’ assertion.

                                                   2
Case 1:06-cr-00285-ARR           Document 81         Filed 08/16/06       Page 3 of 12 PageID #: 251




 and other crimes, and the roles of participants in those crimes, “including the involvement of

 Gino Galestro.” (Maggio Aff. ¶ 6.)

 II.     STANDARD OF REVIEW

         The Sixth Amendment guarantees that “[i]n all criminal prosecutions, the accused shall

 enjoy the right . . . to have the Assistance of Counsel for his defense.” U.S. Const. amend. VI.

 The Supreme Court has held “that an element of this right is the right of a defendant . . . to

 choose who will defend him.” United States v. Gonzalez-Lopez, 126 S. Ct. 2557, 2561 (2006)

 (citing Wheat v. United States, 486 U.S. 153 (1988)). However, a criminal defendant “does not

 have the absolute right to counsel of her own choosing,” United States v. Locascio, 6 F.3d 924,

 931 (2d Cir. 1993), even assuming a valid waiver of conflict, because “‘[f]ederal courts have an

 independent interest in ensuring that criminal trials are conducted within the ethical standards of

 the profession and that legal proceedings appear fair to all who observe them.’” Locascio, 6 F.3d

 at 931 (quoting Wheat, 486 U.S. at 160); see also United States v. Jones, 381 F.3d 114, 119 (2d

 Cir. 2004) (“The disqualification issue . . . implicates not only the accused’s right to counsel, but

 also the interests of the judiciary in preserving the integrity of its processes, and the

 government’s interest in a fair trial and a just verdict.”).

         The right to the effective assistance of counsel also includes the right to be represented by

 an attorney who is free from conflicts of interest. See, e.g., Wood v. Georgia, 450 U.S. 261, 271

 (1981). Under certain circumstances, a trial court is obliged to disqualify an attorney in order to

 protect the defendant’s right to effective assistance of counsel where the attorney has “‘(1) a

 potential conflict of interest that results in prejudice to the defendant, or (2) an actual conflict of

 interest that adversely affects the attorney’s performance.’” United States v. Perez, 325 F.3d 115,


                                                    3
Case 1:06-cr-00285-ARR           Document 81         Filed 08/16/06      Page 4 of 12 PageID #: 252




 125 (2003) (quoting United States v. Levy, 25 F.3d 146, 152 (2d Cir. 1994)). Second Circuit

 case law clearly defines actual and potential conflicts. “An attorney has an actual, as opposed to

 a potential, conflict of interest when, during the course of the representation, the attorney’s and

 the defendant’s interests diverge with respect to a material factual or legal issue or to a course of

 action.” Id. at 125 (citations omitted). A potential conflict of interest exists if “‘the interests of

 the defendant may place the attorney under inconsistent duties at some time in the future.’” Id.

 (quoting United States v. Kliti, 156 F.3d 150, 153 n.3 (2d Cir. 1998)). A conflict of interest,

 whether actual or potential, can be so serious that a rational defendant would never knowingly or

 intelligently desire the conflicted lawyer’s representation. In such a case, the district court must

 disqualify the attorney, without regard to any waiver on the defendant’s part. Levy, 25 F.3d at

 153; see also Jones, 381 F.3d at 120; United States v. Schwarz, 283 F.3d 76, 95 (2d Cir. 2002).

         Where the attorney’s conflict of interest involves an attorney’s conflicting duties of

 loyalty to a defendant and a former client, the court may disqualify an attorney in order “to avoid

 the prospect of a conflict of interest which potentially could confer an unfair advantage on [the

 defendant] . . . or adversely affect [the other client’s] interests.” United States v. DiTommaso,

 817 F.2d 201, 220 (2d Cir. 1987) (citing United States v. James, 708 F.2d 40, 45 (2d Cir. 1983);

 United States v. Ostrer, 597 F.2d 337, 340 (2d Cir. 1979)); see also United States v.

 Cunningham, 672 F.2d 1064, 1072 (2d Cir. 1982). “The principle is well established that an

 attorney should be disqualified from opposing a former client if during his representation of that

 client he obtained information relevant to the controversy at hand.” Ostrer, 597 F.2d at 340

 (internal quotation omitted).

         The Supreme Court in Wheat, discussing the dilemma facing trial courts where a


                                                    4
Case 1:06-cr-00285-ARR           Document 81         Filed 08/16/06      Page 5 of 12 PageID #: 253




 defendant’s preferred choice of counsel has a conflict of interest, notes that “trial courts

 confronted with multiple representations face the prospect of being ‘whipsawed’ by assertions of

 error no matter which way they rule.” Wheat, 486 U.S. at 161; see also Jones, 381 F.3d at 120-

 21. Accordingly, the Wheat Court held that “the District Court must recognize a presumption in

 favor of petitioner’s counsel of choice, but that presumption may be overcome not only by a

 demonstration of actual conflict but by a showing of a serious potential for conflict.” Wheat, 486

 U.S. at 164; see also Jones, 381 F.3d at 120 (“[I]n situations where a potential conflict exists, one

 that may ripen into an actual conflict as the trial progresses, district courts must have latitude to

 permit or deny a defendant’s waiver of such conflict.”). Even in cases where a defendant waives

 an actual or potential conflict, the district court has “substantial latitude” in evaluating the facts

 and circumstances of each case to determine whether to accept or refuse the defendant’s waiver

 of the conflict. See Wheat, 486 U.S. at 163. However, despite this “broad latitude,” id., where

 the disqualification of a defendant’s chosen counsel is erroneous, no additional showing of

 prejudice is required to make the violation complete, and that defendant is entitled to reversal of

 the conviction, as the error constitutes a “structural error” not subject to harmless error review.2

 Gonzalez-Lopez, 126 S. Ct. at 2562.

 III.    DISCUSSION

         The Government urges that disqualification is necessary because Maggio will be a central



         2
           Gonzalez-Lopez has intensified the already difficult decision that must be made by
 district courts whether to disqualify conflicted counsel. Indeed, contemporaneous with this
 Memorandum and Order is my ruling on a disqualification motion in a separate criminal case, in
 which I found that the government did not overcome the presumption in favor of defendant’s
 preferred counsel. United States v. Liszewski, 06-Cr.-130, slip op. (E.D.N.Y. Aug. 16, 2006)
 (Garaufis, J.).

                                                    5
Case 1:06-cr-00285-ARR           Document 81        Filed 08/16/06       Page 6 of 12 PageID #: 254




 witness against Galestro; thus, Levitt and Kaizer will be bound by their duty of loyalty to Maggio

 not to cross-examine him, or to otherwise use confidences obtained from Maggio during their

 representation of him, which raises a potentially serious conflict of interest. (Gov’t Ltr. Br.,

 dated June 28, 2006, at 5-8; Tr. at 3-5.) Levitt and Kaizer respond that there is no conflict

 because any confidences imparted by Maggio to Levitt and Kaizer were also revealed to the

 Government during Maggio’s cooperation, and to the extent that a conflict exists, it does not

 require disqualification. Defense counsel further argue that disqualification is not warranted in

 light of their long relationship with Galestro and the fact that Galestro is eligible for the death

 penalty. (Galestro Ltr. Br., dated July 10, 2006 (“Galestro Ltr. Br.”), at 7; Tr. at 8-9, 11-14, 18-

 20.)

        I find that Levitt and Kaizer have a serious potential conflict in Maggio’s previous

 retention of them and their current representation of Galestro. As the defense concedes (Tr. at

 19), Levitt and Kaizer received confidences from Maggio during their representation of him.

 Maggio does not consent to their representation of Galestro or to their use of his confidences,

 which are material to the prosecution of Galestro. Moreover, upon review of AUSA Lipton’s

 sworn and sealed statement to this court, I find that Maggio is a critical witness in this matter

 who is very likely to be called as a witness to testify against Galestro.

        The applicable disciplinary rule covering conflict of interest issues related to former and

 present clients provides as follows:

        [A] lawyer who has represented a client in a matter shall not, without the consent
        of the former client after full disclosure: (1) Thereafter represent another person in
        the same or a substantially related matter in which that person’s interests are
        materially adverse to the interests of the former client. (2) Use any confidences or



                                                   6
Case 1:06-cr-00285-ARR          Document 81        Filed 08/16/06      Page 7 of 12 PageID #: 255




        secrets of the former client except as permitted by DR 4-101(C)3 or when the
        confidence or secret has become generally known.

 Disciplinary Rule 5-108(A). Regarding the first duty not to represent a person in the same matter

 with materially adverse interests as the former client, Maggio and Galestro were indicted in the

 same case, and Maggio admits to having participated in the same criminal activities to further the

 same criminal enterprise of which Galestro stands accused. Should Maggio testify, Maggio’s

 ability to show that his inculpatory testimony is true will affect the extent to which he receives a

 reduced sentence in connection with his cooperation agreement. Conversely, Galestro will have

 an interest in showing that Maggio’s testimony is false, and Galestro’s counsel will undoubtedly

 seek to attack Maggio’s credibility on cross-examination and in statements to the jury. Maggio,

 should he testify against Galestro, has interests that are “materially adverse” to those of Galestro.

 Levitt and Kaizer therefore have a duty of loyalty to Maggio not to cross-examine Maggio, or to

 otherwise attack his credibility during their representation of Galestro.

        Regarding the second duty not to disclose confidences or secrets of a former client,

 despite the short length of Levitt and Kaizer’s relationship with Maggio, it is clear that during

 that relationship Maggio discussed his culpability for the identical crimes that he now intends to

 testify about as a cooperating witness (“CW”) against Galestro. Contrary to defense counsel’s

 assertion that they have no duty to maintain confidences because Maggio, as a CW, provided the

 same or similar information to the Government, “[t]he privilege attaches not to the information

 but to the communication of the information.” Cunningham, 672 F.2d at 1073 n.8. As Maggio

 does not consent to the divulgence of confidences obtained from him, Levitt and Kaizer may not


        3
            This provision allows a lawyer to reveal confidences or secrets with the consent of the
 client or clients affected, but only after a full disclosure to them. Disciplinary Rule 4-101(C)

                                                   7
Case 1:06-cr-00285-ARR           Document 81        Filed 08/16/06       Page 8 of 12 PageID #: 256




 utilize these confidences in their representation of Galestro. “[E]ven the constitutional

 dimension of a criminal defendant’s right to counsel of his choice does not give the defendant the

 right to take advantage of his preferred attorney’s confidential knowledge gained from prior

 representation of the witness.” James, 708 F.2d at 46. Levitt and Kaizer therefore have a

 serious potential conflict if Maggio is called as a witness against Galestro in that they will not be

 able to attack a key witness against Galestro or to use confidences that the witness imparted to

 them.

         Levitt and Kaizer urge this court to adopt the reasoning in United States v. Stein, 410 F.

 Supp. 2d 316 (S.D.N.Y. 2006) (Kaplan, J.), in which defense counsel was not disqualified

 despite a potential conflict. In Stein, a defendant was represented by a law firm that also

 previously represented a co-conspirator in an alleged tax scheme who became a CW. Id. at 318-

 22. The district judge declined to disqualify counsel for several reasons, including the following:

 (1) the matter was a complex criminal tax case involving the review of substantial discovery for

 which it would be difficult to find replacement counsel who could prepare adequately for trial;

 (2) counsel formed a close working relationship with defendant; (3) the firm ended its

 relationships with its prior clients and the prior clients did not join in the motion; and, (4) the

 defendant consented to proceed with current counsel even if counsel was unable to cross-

 examine its prior clients or to assist an independent attorney hired to cross-examine those

 witnesses. Id. at 329.

         Stein is distinguishable on its face from the case at bar because, unlike in Stein, Maggio

 joins the Government’s motion, and there is ample time for a new attorney to prepare for trial

 without delay. Nevertheless, Stein articulates four factors that I find illuminating in an


                                                    8
Case 1:06-cr-00285-ARR             Document 81       Filed 08/16/06     Page 9 of 12 PageID #: 257




 examination of whether a potential conflict should result in disqualification: (1) the extent of

 Levitt’s and Kaizer’s obligations to Maggio; (2) the importance of Maggio’s testimony to the

 instant prosecution; (3) the prejudice to Galestro in disqualifying Levitt and Kaizer; and (4) the

 extent to which Galestro understands the conflict and waives it and any consequences that flow

 from it.

            The first two factors, Levitt and Kaizer’s duty of loyalty to Maggio and the importance of

 Maggio’s testimony, weigh heavily in favor of disqualification. Maggio does not waive his

 attorney-client relationship with Levitt and Kaizer, who therefore have a duty of loyalty to

 Maggio not to reveal confidences or to attack Maggio’s credibility. Furthermore, Maggio joins

 the Government’s motion to disqualify Levitt and Kaizer from their representation of Galestro,

 and “disqualification motions should be granted where the attorney in question is potentially in

 a position to use privileged information obtained during prior representation of the movant . . . .”

 Cunningham, 672 F.2d at 1072. “‘Disqualification of counsel in such cases is rooted in notions

 of fundamental fairness; allowing an attorney to represent a client in a situation where he may

 use information obtained in the course of former representation of the client’s adversary gives the

 client an unfair advantage.’” James, 708 F.2d at 45 (quoting Cunningham, 672 F.2d at 1072)

 (internal quotation omitted).

            Taken in conjunction with the first factor, the second factor, the importance of Maggio’s

 testimony to the instant prosecution, is dispositive. As stated supra, at trial Maggio’s testimony

 will be essential to the charged allegations against Galestro. It is axiomatic that prior

 representation of a key witness against a current client is a serious conflict. See Levy, 25 F.3d at

 156; see also Ciak v. United States, 59 F.3d 296, 304 (2d Cir. 1995) abrogated on other grounds


                                                    9
Case 1:06-cr-00285-ARR          Document 81        Filed 08/16/06       Page 10 of 12 PageID #: 258




 by Mickens v. Taylor, 535 U.S. 162 (2002) (on habeas appeal, discussing the potential for serious

 conflict when attorney sought to impeach “a key government witness who was his former client

 in a closely related matter”); United States v. Iorizzo, 786 F.2d 52, 54 (2d Cir. 1986) (reversing

 mail fraud convictions on ground that counsel was conflicted due to his “earlier representation of

 the government’s key witness in a related state proceeding”). Levitt and Kaizer’s confidential

 communications with Maggio would inevitably inform the defense counsel’s strategy for

 attacking his credibility on cross-examination and in argument to the jury, which would

 impermissibly convert them into “unsworn witness[es] whose credibility is in issue.” United

 States v. McKeon, 738 F.2d 26, 35 (2d Cir. 1984); see also United States v. Gotti, 771 F. Supp.

 552, 563-64 (S.D.N.Y. 1991).

        The prejudice to Galestro in disqualifying Levitt and Kaizer is significant but not

 overwhelming. Levitt’s two year relationship with Galestro, (Levitt Aff. ¶ 2), militates against

 disqualification. See Cunningham, 672 F.2d at 1070-71. However, the defense’s argument that

 they are among the only attorneys in this district with experience in federal death penalty

 litigation and racketeering trials (Galestro Ltr. Br. at 3 & n.2) is simply untrue. There are many

 experienced and capable attorneys who would not be conflicted in their representation of

 Galestro. Moreover, at this early stage in the litigation it would cause little prejudice to Galestro

 to obtain new counsel.

        Addressing the last factor, Galestro’s waiver of the conflict, it is difficult for this court to

 ascertain whether his waiver is knowing and intelligent, given the likelihood that Maggio’s

 testimony would necessarily limit Levitt and Kaizer’s effectiveness as his counsel. Moreover, it

 is within this court’s discretion to reject a waiver if defendant’s counsel has a serious potential


                                                   10
Case 1:06-cr-00285-ARR          Document 81         Filed 08/16/06      Page 11 of 12 PageID #: 259




 conflict likely to “burgeon into an actual conflict as the trial progresses.” Wheat, 486 U.S. at

 163. I also reject Levitt and Kaizer’s proposal that they continue as lead counsel for Galestro

 with the condition that independent counsel be retained to cross-examine Maggio. Should

 Maggio testify, Galestro’s fate might very well rest in the hands of his counsel’s ability to

 effectively undermine Maggio’s credibility. Such a scenario would place undue pressure upon

 Levitt and Kaizer to violate their ethical duties to Maggio. Retention of separate counsel to

 cross-examine Maggio would also place this court in the impossible position of policing Levitt

 and Kaizer’s duty to Maggio not to attack his credibility during trial or to utilize confidences

 gathered from him in Galestro’s defense. The Second Circuit has held that disqualification is

 proper where maintaining the accused’s preferred counsel would sacrifice this court’s interest “in

 preserving the integrity of its processes, and the government’s interest in a fair trial and a just

 verdict.” Jones, 381 F.3d at 119; see also Perez, 325 F.3d at 125 (holding that trial court retains

 the “discretion to reject a defendant’s knowing and intelligent waiver when his attorney’s conflict

 jeopardizes the integrity of judicial proceedings”). This court has previously held that

 disqualification is preferable to allowing the representation with a restriction on the cross-

 examination of a prior client where confidential information received by defense counsel from a

 prior client compromises counsel’s ability to “isolate [their] knowledge about [the prior client]

 from the defense team . . . .” United States v. Massino, 303 F. Supp. 2d 258, 263-64 (E.D.N.Y.

 2003). The Government has demonstrated a serious potential conflict that overcomes the

 presumption in favor of Galestro’s counsel of choice. I therefore reject Galestro’s waiver, and

 find that disqualification is the only appropriate remedy.

        Contrary to defense counsel’s suggestion (Tr. at 13-14), Gonzalez-Lopez does not compel


                                                   11
Case 1:06-cr-00285-ARR          Document 81        Filed 08/16/06      Page 12 of 12 PageID #: 260




 a different result. While district courts now must consider a motion to disqualify with the

 knowledge that erroneous disqualification is a structural error not subject to harmless error

 review, 126 S. Ct. at 2562, Gonzalez-Lopez did not otherwise alter the analytical framework

 within which district courts consider a motion to disqualify as articulated by the Supreme Court

 in Wheat. Nor does the fact that Galestro is death-eligible alter this exercise. While the potential

 of Galestro’s certification for the death penalty highlights the importance of this court’s attention

 to Galestro’s rights, in the case of conflicted counsel a defendant’s right to chosen counsel is

 circumscribed by his right to effective counsel. Having found that Levitt and Kaizer have a

 serious potential conflict in their representation of Galestro that substantially compromises their

 effectiveness and threatens the integrity of this court’s proceedings, it is within the broad latitude

 of this court to disqualify them.

 IV.    CONCLUSION

        The Government’s motion to disqualify Levitt and Kaizer in their representation of

 Galestro is GRANTED.

 SO ORDERED.

 Dated: August 16, 2006                         ______/s/_________________
        Brooklyn, N.Y.                          Nicholas G. Garaufis
                                                United States District Judge




                                                   12
